                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION

 UNITED STATES OF AMERICA                           )
                                                    )      Case No. 1:18CR00025-028
                                                    )
 v.                                                 )      OPINION AND ORDER
                                                    )
                                                    )
 DEVON SCOTT COLEMAN,                               )      By: James P. Jones
                                                    )      United States District Judge
                    Defendant.                      )

       S. Cagle Juhan, Assistant United States Attorney, Abingdon, Virginia, for
 United States; Michael A. Bragg, Bragg Law, Abingdon, Virginia, for Defendant.

       In this drug conspiracy case, the defendant has moved to suppress statements

 made by him and items seized from his vehicle after a law enforcement officer

 stopped his vehicle. The government contends that the officer engaged in a valid

 Terry vehicle stop, while the defendant argues that the officer did not have a

 reasonable articulable suspicion of criminal conduct to justify the stop. Following

 an evidentiary hearing and for the following reasons, I will deny the motion.

                                             I.

        The relevant facts are not in dispute.1 While on duty in his police cruiser on

 the morning of September 20, 2017, David Johnson, a deputy sheriff with the

 Washington County Sheriff’s Office, received a call from the dispatcher stating

       1
           The facts come largely from the officer’s testimony at the hearing and his police
 cruiser’s dash cam video.


Case 1:18-cr-00025-JPJ-PMS Document 426 Filed 04/08/19 Page 1 of 7 Pageid#: 7356
 that a local public high school administrator had noticed a male individual sleeping

 in a vehicle parked on the school campus, and that there was a crossbow in the

 vehicle.

       Deputy Johnson responded to the call and arrived at the school at

 approximately 7:55 a.m. Students and teachers were also arriving at that time.

 Deputy Johnson pulled into the school’s front parking lot, where he saw the high

 school’s assistant principal.     The assistant principal identified the vehicle in

 question, and Deputy Johnson pulled up within feet behind it. The vehicle was

 stopped across a line dividing two parking spaces, and the rear of the vehicle was

 in the travel lane between rows of parking spaces. The vehicle was running, and

 its brake lights were on. As Deputy Johnson exited his vehicle to check on the

 driver, the other vehicle pulled away.       Deputy Johnson reentered his vehicle,

 turned on his siren, and followed the vehicle. The other vehicle stopped in a

 parking space, still in the school parking lot.

       Deputy Johnson approached the driver’s side of the vehicle, and as he did so,

 he saw the butt end of a crossbow behind the driver’s seat of the vehicle. He told

 defendant Coleman, the driver and sole occupant of the vehicle, that a school

 administrator had notified the sheriff’s office that Coleman had been asleep in the

 vehicle with a crossbow.        Deputy Johnson asked Coleman if there were any

 weapons in the vehicle, and Coleman told him that there was a handgun and where


                                           -2-

Case 1:18-cr-00025-JPJ-PMS Document 426 Filed 04/08/19 Page 2 of 7 Pageid#: 7357
 it was located. Deputy Johnson asked Coleman to exit the vehicle. As Coleman

 opened the driver’s door and began to exit, Deputy Johnson saw a bag containing a

 green, leafy substance that appeared to be marijuana wedged between the door and

 the driver’s seat. Deputy Johnson handcuffed Coleman and began conducting a

 field sobriety test. Another officer arrived and searched the vehicle and found

 marijuana, crystal methamphetamine, and a Smith and Wesson .38 caliber

 handgun.

       On October 24, 2018, Coleman was indicted in this court and charged with

 conspiring to distribute and possess with the intent to distribute methamphetamine,

 possessing with the intent to distribute methamphetamine, and using a firearm in

 furtherance of a drug trafficking crime. Coleman has moved to suppress from

 evidence at his trial the items found and any incriminating statements made

 following Deputy Johnson’s stop of his vehicle.

                                           II.

        Coleman argues that Deputy Johnson stopped him in violation of the Fourth

 Amendment, and thus the evidence obtained as a result of the stop must be

 suppressed as fruit of the poisonous tree. 2




       2
          Although Coleman alleges that the stop was unlawful, he does not challenge its
 length or the subsequent search of the vehicle.

                                           -3-

Case 1:18-cr-00025-JPJ-PMS Document 426 Filed 04/08/19 Page 3 of 7 Pageid#: 7358
        “It is well established that the temporary detention of individuals during the

 stop of an automobile by the police constitutes a seizure no matter how brief the

 detention or how limited its purpose.” United States v. Branch, 537 F.3d 328, 335

 (4th Cir. 2008). 3 However, a law enforcement officer may temporarily seize and

 detain a citizen without violating the Fourth Amendment when the officer

 “‘observes unusual conduct which leads him reasonably to conclude in light of his

 experience that criminal activity may be afoot.’” United States v. Black, 525 F.3d

 359, 364 (4th Cir. 2008) (quoting Terry v. Ohio, 392 U.S. 1, 30 (1968)). This

 reasonable suspicion standard requires a showing of proof that is “considerably

 less than a preponderance of the evidence.” Branch, 537 F.3d at 336. “[A] police

 officer must simply point to specific and articulable facts which, taken together

 with rational inferences from those facts, evince more than an inchoate and

 unparticularized suspicion or hunch of criminal activity.”              Id.    Reasonable

 suspicion is based on the circumstances and “cumulative information available to

 the officer,” and it is evaluated objectively, “not on the officer’s actual state of

 mind at the time the challenged action was taken.” Id. at 337.

        “[E]vasive reactions to the presence of police may be considered in

 determining whether reasonable suspicion exists for an investigatory stop.” United


        3
          I have omitted internal quotation marks, alterations, and citations throughout this
 opinion unless otherwise noted.

                                             -4-

Case 1:18-cr-00025-JPJ-PMS Document 426 Filed 04/08/19 Page 4 of 7 Pageid#: 7359
 States v. Smith, 396 F.3d 579, 584 (4th Cir. 2005).          Moreover, “reasonable

 suspicion can rest on a mistaken understanding of the scope of a legal prohibition.”

 Heien v. North Carolina, 135 S. Ct. 530, 536 (2014) (finding that vehicle stop was

 reasonable despite being based on officer’s mistaken belief that state law required

 two operating brake lights). However, “[t]he Fourth Amendment tolerates only

 reasonable mistakes, and those mistakes—whether of fact or of law—must be

 objectively reasonable.” Id. at 539.

       The government contends that Deputy Johnson had reasonable suspicion to

 stop Coleman’s vehicle, and thus the evidence obtained from the stop should not

 be suppressed.    It argues that the information Deputy Johnson received from

 dispatch, along with the assistant principal’s identification of Coleman’s vehicle as

 the one at issue, was sufficient to support reasonable suspicion of criminal activity.

 In particular, it identifies Virginia statutes prohibiting possessing weapons on

 school property, trespassing on school property, and illegal parking, as well as

 common law trespass, as crimes that an officer reasonably could have suspected

 were being committed. The government adds that Coleman’s evasive behavior

 when Deputy Johnson parked behind him also supports a finding of reasonable

 suspicion.   Coleman counters that the facts do not support a reasonable,

 particularized suspicion that he was engaged in criminal activity, principally based




                                          -5-

Case 1:18-cr-00025-JPJ-PMS Document 426 Filed 04/08/19 Page 5 of 7 Pageid#: 7360
 on the argument that a crossbow does not fall within the Virginia statute

 prohibiting weapons on school property.

       I agree with the government and find that the facts support a reasonable

 suspicion that Coleman was engaged in criminal activity when Deputy Johnson

 stopped his vehicle. First, Deputy Johnson arrived at the school with information

 that an individual was sleeping in a car parked on school campus with a crossbow.

 He had received this information from a reliable source — the dispatcher and a

 school official — and the information was corroborated when the assistant

 principal identified Coleman’s vehicle in the school parking lot. Moreover, the

 vehicle was parked in a somewhat erratic manner, and its driver began to drive

 away immediately upon Deputy Sheriff Johnson’s arrival. Particularly in light of

 the fact that these events transpired on a school campus when students and teachers

 were present, they give rise to an objectively reasonable suspicion that Coleman

 was committing a crime, namely, possessing a weapon on school property.         It is

 no matter that a crossbow may not be a prohibited weapon under the relevant

 Virginia statute.4 Even assuming that Deputy Johnson’s belief that a crossbow was

 a prohibited weapon was mistaken, such a mistake was objectively reasonable.


       4
           The statute prohibits knowing possession on school property of, among other
 things, firearms designed to expel projectiles via explosion, knives, razors, pointed
 blades, and weapons “of like kind.” Va. Code Ann. § 18.2-308.1(A) (referencing Va.
 Code Ann. § 18.2-308(A). Coleman asserts that because a crossbow does not expel
 projectiles via explosion, it is not a prohibited weapon. However, the government
                                          -6-

Case 1:18-cr-00025-JPJ-PMS Document 426 Filed 04/08/19 Page 6 of 7 Pageid#: 7361
                                            III.


       For the foregoing reasons, it is ORDERED that the defendant’s Motion to

 Suppress, ECF No. 319 is DENIED.



                                                   ENTER: April 8, 2019

                                                   /s/ James P. Jones
                                                   United States District Judge




 contends that a crossbow may be a weapon of like kind and thus prohibited. While there
 appears to be no relevant state judicial construction of the statute, the government’s
 argument is not unreasonable, and the lack of authoritative construction would support a
 reasonable officer’s view of the illegality of the weapon’s possession on school property.
 See Heien v. North Carolina, 135 S. Ct. at 540.
                                            -7-

Case 1:18-cr-00025-JPJ-PMS Document 426 Filed 04/08/19 Page 7 of 7 Pageid#: 7362
